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                                  UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF FLORIDA

                                                         :
    Sucesión Simon Diaz Marquez,                         :
                                                         :
               Plaintiff,                                :
                                                         :    Civil Case No. __________
                             v.                          :
                                                         :    JURY TRIAL DEMANDED
    Miami Fine Foods, LLC and Avi Assor,                 :
                                                         :
               Defendants.                               :
                                                         :

                                              COMPLAINT

          Plaintiff, Sucesión Simon Diaz Marquez (“Plaintiff”), by its undersigned attorneys, for its

   Complaint against Miami Fine Foods, LLC (“Miami Fine Foods”) and Avi Assor (collectively,

   the “Defendants”), for false suggestion of a connection, false association, deceptive and unfair

   trade practices, fraud, violations of the right of publicity, unfair competition, trademark

   infringement, and trademark dilution, herein alleges as follows:

                                      NATURE OF THE ACTION

          1.         Simón Díaz Márquez (performing under the stage name “Tío Simón”), is the most

   famous artist in the popular folk musical history of Venezuela, recording over 70 records and

   performing in theater, motion pictures and on television. In recognition of his many achievements,

   Tío Simón has won numerous awards, including a Lifetime Achievement Award from the Latin

   Grammy Awards.

          2.         Due to his extraordinary success and career, Tío Simón has become a global icon

   for Venezuelan culture and music.

          3.         Tío Simón is well known for his campaigns aimed to instill Venezuelans and people

   of Venezuelan decent with a sense of pride and excitement to be a part of Venezuela’s rich cultural


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   heritage. Tío Simón also starred on an educational children’s program called Answers by Tío

   Simón, in which he taught children the value and richness of Venezuelan culture and music.

          4.        Tío Simón passed away in 2014 but continues to be a source of enthusiasm and

   inspiration throughout the world and the United States, especially in the State of Florida where

   there is a large Venezuelan community.

          5.        The TIO SIMON mark has been in use for over 40 years to identify Tío Simón, his

   many works, and his contributions to Venezuelan culture and music. The TIO SIMON mark is

   now owned by Tío Simón’s estate, Plaintiff, Sucesión Simon Diaz Marquez.

          6.        Plaintiff brings this civil action against Defendants for common law trademark

   infringement, infringement of unregistered marks under § 43(a)(1)(A) of the Lanham Act, false

   suggestion of a connection under 15 U.S.C. § 1052, false association under 15 U.S.C. § 1125(a),

   violations of Florida Deceptive and Unfair Trade Practices Act under Fla. Stat. Ann. § 501.201, et

   seq., fraud, violations of the right of publicity under Fla. Stat. Ann. § 540.08 and Florida common

   law, unfair competition under 15 U.S.C. § 1125(a) and Florida common law, trademark dilution

   under 15 U.S.C. § 1125(c) and Fla. Stat. Ann. § 495.151, and Lanham Act false endorsement.

                                             THE PARTIES

          7.        Sucesión Simon Diaz Marquez is the estate of Simón Díaz Marquez, commonly

   known as Tío Simón, with an address of Calle Ruta G Qta Bettsimar. Urb., Los Campitos, Caracas,

   Miranda Venezuela 1080.

          8.        On information and belief, Miami Fine Foods is a limited liability company

   organized under the laws of the state of Florida, and is transacting business in the state of Florida,

   with its principal place of business located at 2635 NE 188 Street Bay, #108, North Miami Beach,

   Florida 33180.



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            9.       Upon information and belief, Defendant, Avi Assor, is a resident of Florida and

   maintains a place of business at 2635 NE 188 Street Bay, #108, North Miami Beach, Florida

   33180.

            10.      Upon information and belief, Miami Fine Foods is owned and/or controlled by the

   defendant Avi Assor, who is personally liable and responsible for all the wrongful acts of the

   defendants for any of the following reasons:

      a) Upon information and belief, Avi Assor has personally and directly participated in all of

            the wrongful acts hereinafter set forth;

      b) Upon information and belief, Avi Assor has personally and actively directed the activities

            of Miami Fine Foods and has personally directed other employees or agents of Miami Fine

            Foods and/or their own employees and agents to commit the wrongful acts hereinafter set

            forth;

      c) Upon information and belief, Avi Assor has personally and directly controlled the

            operation of Miami Fine Foods as an instrument to carry out wrongful acts as hereinafter

            set forth;

      d) Upon information and belief, Avi Assor, as an officer of Miami Fine Foods, is the dominant

            force behind the management and operation of Miami Fine Foods and has personally

            guided Miami Fine Foods in the wrongful acts hereinafter set forth;

      e) Upon information and belief, Avi Assor has personally and individually transacted

            business in the name of Miami Fine Foods;

      f) Upon information and belief, Avi Assor has been aware of the rights of Plaintiff but,

            notwithstanding such knowledge, has individually and through Miami Fine Foods,

            committed the wrongful acts hereinafter set forth; and



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       g) Upon information and belief, Avi Assor has actively and personally committed the

           wrongful acts hereinafter mentioned.

                                   JURISDICTION AND VENUE

           11.    This Court has subject matter jurisdiction over this action pursuant to 15 U.S.C. §

   1121(a) and 28 U.S.C. §§ 1331, 1338(a) and (b), and 1367(a). This Court also has subject matter

   jurisdiction over this action pursuant to 28 U.S.C. § 1332(a) because there is complete diversity of

   citizenship, and the amount in controversy exceeds $75,000, exclusive of interests and costs.

           12.    On information and belief, Defendants are located in Florida and regularly transact

   business in Florida. On information and belief, Defendants’ tortious acts that are the subject of the

   present suit have been, and continue to be, committed in Florida. Accordingly, this Court has

   personal jurisdiction.

           13.    Venue is proper under 28 U.S.C. § 1391(b) and (c).

                               FACTS COMMON TO ALL COUNTS

           A.     Background and Fame of Tío Simón

           14.    Tío Simón, born Simón Díaz Márquez, is the most famous and important artist and

   icon in the popular folk musical history of Venezuela. His fame has spread to the United States

   and worldwide, recording over 70 records and performing in theaters, motion pictures, and on

   television.

           15.    Tío Simón gained popularity in the early 1960’s and has since become an icon

   representing the highest values of Venezuelan culture.

           16.    In 1978, Tío Simón starred in a campaign where he traveled through Venezuela

   accompanied by a child, who would ask him about the history and culture of Venezuela. Tío Simón

   would respond by teaching the boy Venezuelan songs, engendering within him pride and

   excitement to be Venezuelan.

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          17.    Continuing on the success of this campaign, for over a decade, Tío Simón starred

   on an educational children’s program called Answers by Tío Simón, in which he taught children

   the value and richness of Venezuelan culture and music.

          18.    Tío Simón is popularly pictured and portrayed wearing a traditional Venezuelan hat

   and riding on a donkey or on a horse.

          19.    Tío Simón’s image is famous and has inspired countless Venezuelans and others to

   connect with or learn about Venezuelan culture.

          20.    Tío Simón has also endorsed and/or licensed the TIO SIMON mark in connection

   with a number of products and services, including board games, song books and coffee.

          21.    Venezuelan artists and other creators from all over the world have dedicated songs,

   paintings, sculptures and performances to Tío Simón, cementing Tío Simón as an icon of

   Venezuelan culture.

          22.    In recognition of his many achievements, Tío Simón was awarded a Lifetime

   Achievement Award from the Latin Grammy Awards in 2008, given nine honorary doctorate

   degrees by major Venezuelan universities, awarded the Venezuelan National Music Award, given

   the Proclamation and Key of the City of Doral, Florida in 2009, and given The Great Ribbon of

   the Liberator’s Order, the highest recognition conferred by Venezuela.

          23.    Tío Simón passed away in 2014 but continues to be a source of enthusiasm and

   inspiration throughout the world and the United States, especially in the State of Florida where

   there is a large Venezuelan community.

          24.    Tío Simón continues to be extraordinarily well-known in Venezuelan communities

   in the United States where he is a household name.




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          25.     Tío Simón also regularly performed his music in the United States, including at

   famed concert halls, such as Carnegie Hall.

          26.     For decades, Tío Simón has been an icon of Venezuelan culture and a sentimental

   banner for the Venezuelan diaspora.

          27.     Plaintiff is the successor to the rights of publicity and persona of Tío Simón and the

   TIO SIMON mark.

          28.     In light of Tío Simón’s fame in the United States and internationally, consumers in

   the United States and globally have come to recognize that the TIO SIMON mark points uniquely

   and unmistakably to Tío Simón and Plaintiff.

          29.     Indeed, Tío Simón’s music, and other products, were offered in the United States,

   in connection with Plaintiff’s TIO SIMON mark, since well prior to Defendants’ adoption of the

   identical phrase Tio Simon.

          30.     Plaintiff’s TIO SIMON mark was also licensed in connection with a variety of

   goods and services, including board games, song books and coffee.

          31.     Accordingly, since well before Defendants’ adoption of the identical phrase Tio

   Simon, consumers have associated a wide variety of goods and services as originating from

   Plaintiff and Plaintiff’s TIO SIMON mark.

          B.      Defendants’ Confusingly Similar Mark and Goods

          32.     On September 16, 2021, Miami Fine Foods filed Application Serial No. 97/030,729

   for Tio Simon (the “Infringing Mark”), in international classes 29 and 30 as follows:

          Class 29: Cheese; Ready-to-eat meals comprised primarily of meats, cheese and also

          including Latin and Venezuelan food, namely, cheese tequenos, nata, milk cream,

          cachapas, sweet corn-based foods, bollitos, empanadas, cachitos, and pandebono.



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          Class 30: Sauces; Bakery desserts; Sauces, namely, green sauce, guascaca sauce, pink

          sauce and garlic and cilantro sauce.

          33.     Defendants have no connection to Plaintiff or Tío Simón and neither Plaintiff nor

   Tío Simón ever endorsed or consented to Defendants’ use or registration of the TIO SIMON mark.

          34.     Upon information and belief, Defendants were well aware of Tío Simón, and Miami

   Fine Foods intentionally filed Application Serial No. 97/030,729 in an attempt to falsely suggest

   a connection to the public between itself and Tío Simón.

          35.     Indeed, Defendants were well aware of Plaintiff’s prior rights due to the fame and

   popularity of Tío Simón and the TIO SIMON mark.

          36.     Further, upon information and belief, the President of Miami Fine Foods, Avi

   Assor, was well aware of Opposer’s TIO SIMON mark in that he is a Venezuelan national who

   grew up in Venezuela, where Tío Simón is a household name.

          37.     Moreover, Plaintiff’s TIO SIMON mark was famous well before Defendants’ first

   use of the Infringing Mark.

          38.     Defendants intentionally filed Application Serial No. 97/030,729 as a part of a

   scheme to illicitly benefit from the reputation and goodwill of Tío Simón, his estate, and Plaintiff’s

   TIO SIMON mark.

          39.     Indeed, the Infringing Mark is identical in appearance, sound, connotation, and

   commercial impression to the name Tío Simón and Plaintiff’s TIO SIMON mark.

          40.     Defendants are further taking actions that are deliberately aimed at passing off its

   goods as those of Plaintiff by misrepresenting that Tío Simón and his estate are the source of, or

   otherwise endorsing, Defendants’ goods.




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          41.    For example, Defendants actively promote the Subject Mark as being associated

   with Tío Simón and Plaintiff’s TIO SIMON mark.

          42.    The goods of Application Serial No. 97/030,729 include traditional Venezuelan

   food and recipes which consumers instantly recognize as originating from Venezuelan culture, of

   which, Tío Simón stands as a cultural icon.

          43.    Defendants’ intentionally chose to adopt “Tio Simon” in connection with

   traditional Venezuelan food and recipes precisely because of Tío Simón’s reputation as a

   Venezuelan cultural icon.

          44.    Defendants’ website, https://www.tiosimonfoods.com/, also advertises goods sold

   under the Infringing Mark as being traditional Venezuelan foods. For example, Defendants’

   website invites consumers to purchase “irresistible products ready to share and enjoy the

   Venezuelan tradition.”

          45.    Moreover, Defendants also use, as its logo, a drawing of a man riding a donkey and

   wearing a traditional Venezuelan hat. See https://www.tiosimonfoods.com/, and as circled below:




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          46.     This logo is confusingly similar with the well-known representation of Tío Simón

   within the Venezuelan community, who is commonly portrayed wearing a traditional Venezuelan

   hat and riding a donkey.




          47.     Such marketing under the Infringing Mark is intended to falsely misrepresent a

   connection between the Infringing Mark and Tío Simón, and misrepresent that Plaintiff is the

   source of, or otherwise endorses, Defendants’ goods.

          48.     Defendants have been marketing and offering their goods in connection with the

   Infringing Mark in the United States and in the state of Florida.

          49.     None of Defendants’ goods offered under the Infringing Mark are authorized by or

   originate from Plaintiff.

          50.     Likewise, Defendants do not have the right to use the right of publicity or the

   persona of Tío Simón.

          51.     The fame and reputation of Tío Simón is such that when used in connection with

   the goods of the Infringing Mark, a connection with Tío Simón and his estate would be presumed.

          52.     Further, there are no other well-known persons or companies who have the right to

   use or license the TIO SIMON mark without Plaintiff’s permission.




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          53.     Thus, consumers of traditional Venezuelan food are likely to mistakenly believe

   that the Infringing Mark is associated or authorized by Plaintiff.

          54.     This is especially true of Defendants’ target consumers, comprised of purchasers

   of traditional Venezuelan food who immediately associate the Infringing Mark with Tío Simón,

   his estate, and Plaintiff’s TIO SIMON mark.

          55.     Further, consumers are aware that Plaintiff’s TIO SIMON mark was previously

   licensed in connection with a variety of goods and services, including board games, song books

   and coffee.

          56.     Tío Simón himself also endorsed a variety of goods and services.

          57.     Accordingly, consumers would presume that Defendants are endorsed or otherwise

   connected with Tío Simón, his estate, and Plaintiff’s TIO SIMON mark.

          58.     Plaintiff sent a cease-and-desist letter to Defendants on March 22, 2022.

          59.     Plaintiff further opposed registration of Defendants’ Application Serial No.

   97/030,729 in front of the Trademark Trial and Appeal Board (Opposition No. 91282101).

          60.     Despite being put on notice of Plaintiff’s intellectual property rights, Defendants

   have refused to cease any of their infringing and unlawful activity.

                                    FIRST CAUSE OF ACTION

                          (Trademark Infringement Under Common Law)

          61.     Defendants’ unauthorized use of the TIO SIMON mark is likely to cause confusion,

   to cause mistake, and to deceive people into believing that Defendants’ goods and services are

   authorized by, related to, or associated with Plaintiff. Therefore, Defendants’ unauthorized use of

   the TIO SIMON mark constitutes infringement of Plaintiff's common law rights in the TIO

   SIMON mark.



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           62.     Plaintiff has priority to the TIO SIMON mark by virtue of its prior use of the TIO

   SIMON mark in the United States.

           63.     Alternatively, Plaintiff has priority to the TIO SIMON mark by virtue of the well-

   known marks doctrine.

           64.     Indeed, Plaintiff’s TIO SIMON mark was well known in the United States among

   Defendants’ target consumers such that Defendants’ infringing use of the TIO SIMON mark is

   likely to cause confusion among a substantial number of persons.

           65.     By reason of Defendants’ wrongful acts aforementioned, Plaintiff has suffered and

   will continue to suffer monetary damages, the full extent of which is as yet undetermined.

           66.     Defendants’ wrongful acts aforementioned are willful, wanton, and in utter

   disregard of Plaintiff’s rights.

           67.     Plaintiff has no adequate remedy at law and is presently suffering and will continue

   to suffer irreparable harm and damage to its business reputation and goodwill if such infringing

   activities are allowed to continue. Plaintiff is thus entitled to both preliminary and permanent

   injunctive relief.

                                      SECOND CAUSE OF ACTION

    (Infringement of Unregistered Marks Pursuant to Section 43(a)(1)(A) of the Lanham Act)

           68.     Defendants’ unauthorized use of the TIO SIMON mark is likely to cause confusion,

   to cause mistake, and to deceive people into believing that Defendants’ goods and services are

   authorized by, related to, or associated with Plaintiff. Therefore, Defendants’ unauthorized use of

   the TIO SIMON mark constitutes infringement of Plaintiff's TIO SIMON mark.

           69.     Plaintiff has priority to the TIO SIMON mark by virtue of its prior use of the TIO

   SIMON mark in the United States.



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           70.     Alternatively, Plaintiff has priority to the TIO SIMON mark by virtue of the well-

   known marks doctrine.

           71.     Indeed, Plaintiff’s TIO SIMON mark was well known in the United States among

   Defendants’ target consumers such that Defendants’ infringing use of the TIO SIMON mark is

   likely to cause confusion among a substantial number of persons.

           72.     By reason of Defendants’ wrongful acts aforementioned, Plaintiff has suffered and

   will continue to suffer monetary damages, the full extent of which is as yet undetermined.

           73.     Defendants’ wrongful acts aforementioned are willful, wanton, and in utter

   disregard of Plaintiff’s rights.

           74.     Plaintiff has no adequate remedy at law and is presently suffering and will continue

   to suffer irreparable harm and damage to its business reputation and goodwill if such infringing

   activities are allowed to continue. Plaintiff is thus entitled to both preliminary and permanent

   injunctive relief.

                                      THIRD CAUSE OF ACTION

       (False Association Pursuant to Section 43(a) of the Lanham Act, 15 U.S.C. § 1125(a))

           75.     Tío Simón is famous in the United States and internationally, especially amongst

   Venezuelans, the target demographic of Defendants.

           76.     The Infringing Mark is identical to the name Tío Simón and Plaintiff’s TIO SIMON

   mark.

           77.      Defendants’ logo further depicts Tío Simón’s likeness in a deliberate attempt to

   create confusion because consumers in the United States will assume that Defendants’ products

   are affiliated with, sponsored by, or endorsed by Tío Simón and his estate




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           78.       Moreover, Defendants use the Infringing Mark in connection with Venezuelan food

   products and market such products to consumers that would know and recognize Tío Simón.

           79.       Defendants intend to profit from consumers’ confusion and to capitalize on the

   goodwill generated by the fame of Tío Simón and Plaintiff’s TIO SIMON mark.

           80.       It is unlikely that any consumer would engage in a thorough investigation to

   uncover the true source of Defendants’ products.

           81.       The foregoing acts of Defendants constitute a willful violation of Section 43(a).

           82.       Plaintiff has no adequate remedy at law and is presently suffering and will continue

   to suffer irreparable harm and damage to its business reputation and goodwill if such activities are

   allowed to continue.

                                     FOURTH CAUSE OF ACTION

    (Florida Deceptive and Unfair Trade Practices Act Pursuant to Fla. Stat. § 501.201, et seq.)

           83.       Defendants’ use of the Infringing Mark and its logo depicting Tío Simón’s likeness

   are likely to cause consumers to believe that Defendants’ goods emanate from or are associated

   with Plaintiff.

           84.       Defendants’ actions affect the public’s interest by deceiving and misleading the

   public into believing that Defendants and their goods are in some way sponsored, affiliated, or

   associated with Plaintiff, when in fact they are not.

           85.       Additionally, Defendants’ actions are capable of repetition and have been repeated

   through numerous sales to consumers.

           86.       Defendants’ actions are willful and wanton and Defendants knew or should have

   known that their conduct was unfair and deceptive and in violation of the Florida Deceptive and

   Unfair Trade Practices Act.



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           87.     Plaintiff has suffered irreparable harm and damages as a result of the Defendants

   acts in an amount thus far not determined.

           88.     Defendants’ unfair and deceptive acts violate the Florida Deceptive and Unfair

   Trade Practices Act, Florida Statutes § 501.201 et seq.

                                      FIFTH CAUSE OF ACTION

                                                  (Fraud)

           89.     Application Serial No. 97/030,729 was filed fraudulently.

           90.     As Defendants were well aware, they were not using the Infringing Mark in the

   United States at the time of filing Application Serial No. 97/030,729 in connection with all the

   goods of the application.

           91.     Likewise, Defendants were well aware that they are not the owner of the TIO

   SIMON Mark.

           92.     Nonetheless, Defendant Miami Fine Foods filed Application Serial No. 97/030,729

   with the intent to fraudulently obtain a registration to which it is not entitled.

           93.     As of September 18, 2021, shortly after Application Serial No. 97/030,729 was

   filed, a review of the Wayback Machine, a digital archive of the world wide web, reveals no use

   of the Infringing Mark in connection with Bakery desserts, bollitos, and pandebono.

           94.     On September 16, 2021, counsel for Defendant Miami Fine Foods, Ivania Oberti,

   executed a declaration in support of Application Serial No. 97/030,729 which stated, inter alia,

   that (i) “[t]he signatory believes that the applicant is the owner of the trademark/service mark

   sought to be registered”, (ii) “[t]he mark is in use in commerce and was in use in commerce as of

   the filing date of the application on or in connection with the goods/services in the application”,




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   and (iii) “[t]o the best of signatory’s knowledge and belief, the facts recited in the application are

   accurate.”

          95.     Ivania Oberti further declared that “the mark was first used by the applicant or the

   applicant's related company or licensee predecessor in interest at least as early as 09/01/2016, and

   first used in commerce at least as early as 09/01/2016, and is now in use in such commerce” in

   connection with “Cheese; Ready-to-eat meals comprised primarily of meats, cheese and also

   including Latin and Venezuelan food, namely, cheese tequenos, nata, milk cream, cachapas, sweet

   corn-based foods, bollitos, empanadas, cachitos, and pandebono” in international class 29 and

   “Sauces; Bakery desserts; Green, Guasacaca, Pink, Garlic and Cilantro sauce” in international

   class 30.

          96.     Ivania Oberti stated that “the allegations and factual contentions made above have

   evidentiary support.”

          97.     Ivania Oberti, executed the declaration, despite being warned that false statements

   were punishable by fine or imprisonment, or both, under 18 U.S.C. § 1001, and that such willful

   false statements could jeopardize the validity of the application or any resulting registration.

          98.     Defendant Miami Fine Foods was aware of Plaintiff’s prior rights in the TIO

   SIMON mark due to the fame and popularity of Tío Simón. As such, Defendant Miami Fine Foods

   did not and could not have an honest and good faith belief that it was the owner of the Infringing

   Mark at the time it executed the declaration in support of its application.

          99.     Defendant Miami Fine Foods’s signatory, Ivania Oberti, executed the declaration

   in support of Application Serial No. 97/030,729 on September 16, 2021, when she knew that

   Defendant Miami Fine Foods was not the owner of the Infringing Mark and had no right to use the

   Infringing Mark.



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          100.    Ivania Oberti further executed the declaration in support of Application Serial No.

   97/030,729 on September 16, 2021, when she and Defendant Miami Fine Foods knew that the

   Infringing Mark had not been used and was still not in use in United States commerce in connection

   with Bakery desserts, bollitos, and pandebono at the time of filing.

          101.    Said false statements in the declaration submitted in support of Application Serial

   No. 97/030,729 were made by Ivania Oberti on behalf of Defendant Miami Fine Foods with the

   intent to induce the United States Patent and Trademark Office (“USPTO”) to issue a trademark

   registration to which Defendant Miami Fine Foods is not entitled.

          102.    Reasonably relying upon the truth of said false statements, the USPTO did, in fact,

   approve Application Serial No. 97/030,729 for publication and published Application Serial No.

   97/030,729 for opposition on August 2, 2022.

          103.    Said false statements were material in that the USPTO would not have approved

   Application Serial No. 97/030,729 for publication in the absence of Defendant Miami Fine Foods’

   false statements regarding the ownership and use of the Infringing Mark.

          104.    Defendants submitted the fraudulent declaration to the USPTO with the intent to

   deceive the USPTO and induce it into registering the mark of Application Serial No. 97/030,729.

          105.    Accordingly, submissions made to the USPTO by Defendants were fraudulent.

          106.    Moreover, Defendants’ Application Serial No. 97/030,729 has been cited as a basis

   for refusal of Plaintiff’s Application Serial No. 97/296,359 for TIO SIMON.

          107.    Defendants’ fraudulent misrepresentations were malicious, wanton, willful,

   oppressive, and exhibited a reckless indifference to the rights of Plaintiff.

          108.    Plaintiff is also entitled to damages in an amount to be determined at trial.




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            109.   Plaintiff is also entitled to punitive damages and restitution because of Defendants’

   fraud and willful misrepresentations.

                                     SIXTH CAUSE OF ACTION

                       (Right of Publicity Pursuant to Fla. Stat. Ann. § 540.08)

            110.   Defendants’ unauthorized use of the Infringing Mark to promote its goods and

   services violates Tío Simón’s right of publicity, which rights were passed to Plaintiff upon his

   death.

            111.   The Infringing Mark is identical to Tío Simón’s name.

            112.   Neither Plaintiff, Tío Simón, or any other individual has authorized or consented to

   Defendants’ use of the Infringing Mark or the name Tío Simón.

            113.   Defendants’ use of a logo depicting a man riding a donkey and wearing a traditional

   Venezuelan hat passes off on the well-known representation of Tío Simón within the Venezuelan

   community, as he is regularly portrayed wearing a traditional Venezuelan hat and riding on a

   donkey or horse.

            114.   Neither Plaintiff, Tío Simón, or any other individual has authorized or consented to

   Defendants’ use of Tío Simón’s likeness.

            115.   Such unauthorized use of Tío Simón’s likeness constitutes a violation of his rights

   of publicity, and such rights were passed to Plaintiff upon his death.

            116.   Plaintiff has no adequate remedy at law and is presently suffering and will continue

   to suffer irreparable harm and damage to its business reputation and goodwill if such activities are

   allowed to continue.

                                   SEVENTH CAUSE OF ACTION

                          (Right of Publicity Under Florida Common Law)



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            117.   Defendants unauthorized use of the Infringing Mark to promote its goods and

   services violates Tío Simón’s rights of publicity, which rights were passed to Plaintiff upon his

   death.

            118.   The Infringing Mark is identical to Tío Simón’s name.

            119.   Neither Plaintiff, Tío Simón, or any other individual has authorized or consented to

   Defendants’ use of the Infringing Mark or the name Tío Simón.

            120.   Defendants’ use of a logo depicting a man riding a donkey and wearing a traditional

   Venezuelan hat passes off on the well-known representation of Tío Simón within the Venezuelan

   community, as he is regularly portrayed wearing a traditional Venezuelan hat and riding on a

   donkey or horse.

            121.   Neither Plaintiff, Tío Simón, or any other individual has authorized or consented to

   Defendants’ use of Tío Simón’s likeness.

            122.   Such unauthorized use of Tío Simón’s likeness constitutes a violation of his rights

   of publicity, and such rights were passed to Plaintiff upon his death.

            123.   Plaintiff has no adequate remedy at law and is presently suffering and will continue

   to suffer irreparable harm and damage to its business reputation and goodwill if such activities are

   allowed to continue.

                                    EIGHTH CAUSE OF ACTION

                          (False Endorsement Pursuant to 15 U.S.C. § 1125(a))

            124.   As described above, Plaintiff is the legal owner of all rights to Tio Simon’s name

   and likeness, the TIO SIMON mark, and associated rights of publicity.




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          125.    Defendants have, without authorization and for their own commercial purposes,

   used Tio Simon’s name and likeness and the TIO SIMON mark in connection with the promotion

   and offering for sale of their products.

          126.    Defendants' unauthorized use of Tio Simon’s name and likeness, and the TIO

   SIMON mark, is likely to cause confusion among consumers regarding Plaintiff's endorsement

   of Defendants’ products, and lead consumers to believe that Plaintiff endorses or has authorized

   Defendants' products, when it has not.

          127.    Such confusion, caused by Defendants’ unauthorized use of Tio Simon’s name

   and likeness, and the TIO SIMON mark, has caused, and will continue to cause, competitive

   harm to Plaintiff.

          128.    Upon information and belief, Defendants' actions are willful, and Defendants are

   acting with actual malice, and in bad faith.

          129.    By reason of Defendants’ wrongful acts aforementioned, Plaintiff has suffered and

   will continue to suffer monetary damages, the full extent of which is as yet undetermined.

          130.    Plaintiff has no adequate remedy at law and is presently suffering and will continue

   to suffer irreparable harm and damage to its business reputation and goodwill if such activities are

   allowed to continue.

                                     NINTH CAUSE OF ACTION

                          (Unfair Competition Pursuant to 15 U.S.C. § 1125(a))

          131.    Defendants’ unauthorized use of the Infringing Mark is likely to cause confusion,

   to cause mistake, and to deceive consumers into believing that Defendants’ goods and services are

   authorized by, related to, or associated with Plaintiff. Therefore, Defendants’ unauthorized use of

   the Infringing Mark constitutes unfair trade practices, inequitable conduct, and unfair competition.



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           132.    Defendants’ use of the Infringing Mark is identical to Tío Simón and Plaintiff’s

   TIO SIMON mark, coupled with the use of a logo depicting Tío Simón’s likeness, is a deliberate

   attempt to create confusion amongst consumers who will assume that Defendants’ products are

   affiliated with, authorized by, or endorsed by Plaintiff.

           133.    Moreover, Defendants use the Infringing Mark in connection with Venezuelan food

   products and target consumers who would know and recognize Tío Simón. Upon information and

   belief, Defendants intend to profit from consumers’ confusion and to capitalize on the goodwill

   generated by the legacy of Tío Simón and Plaintiff’s TIO SIMON mark.

           134.    It is unlikely that any consumers would engage in a thorough investigation to

   uncover the true source of Defendants’ products.

           135.    By reason of Defendants’ wrongful acts aforementioned, Plaintiff has suffered and

   will continue to suffer monetary damages, the full extent of which is as yet undetermined.

           136.    Defendants’ wrongful acts aforementioned are willful, wanton, and in utter

   disregard of Plaintiff’s rights.

           137.    Plaintiff has no adequate remedy at law and is presently suffering and will continue

   to suffer irreparable harm and damage to its business reputation and goodwill if such infringing

   activities are allowed to continue.

                                      TENTH CAUSE OF ACTION

                          (Unfair Competition Under Florida Common Law)

           138.    Defendants’ unauthorized use of the Infringing Mark is likely to cause confusion,

   to cause mistake, and to deceive consumers into believing that Defendants’ goods and services are

   authorized by, related to, or associated with Plaintiff. Therefore, Defendants’ unauthorized use of

   the Infringing Mark constitutes unfair trade practices, inequitable conduct, and unfair competition.



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           139.    Defendants’ use of the Infringing Mark is identical to Tío Simón and Plaintiff’s

   TIO SIMON mark, coupled with the use of a logo depicting Tío Simón’s likeness, is a deliberate

   attempt to create confusion amongst consumers who will assume that Defendants’ products are

   affiliated with, authorized by, or endorsed by Plaintiff.

           140.    Moreover, Defendants use the Infringing Mark in connection with Venezuelan food

   products and target consumers who would know and recognize Tío Simón.

           141.    Upon information and belief, Defendants intend to profit from consumers’

   confusion and to capitalize on the goodwill generated by the legacy of Tío Simón and Plaintiff’s

   TIO SIMON mark.

           142.    It is unlikely that any consumers would engage in a thorough investigation to

   uncover the true source of Defendants’ products.

           143.    By reason of Defendants’ wrongful acts aforementioned, Plaintiff has suffered and

   will continue to suffer monetary damages, the full extent of which is as yet undetermined.

           144.    Defendants’ wrongful acts aforementioned are willful, wanton, and in utter

   disregard of Plaintiff’s rights.

           145.    Plaintiff has no adequate remedy at law and is presently suffering and will continue

   to suffer irreparable harm and damage to its business reputation and goodwill if such infringing

   activities are allowed to continue.

                                      ELEVENTH CAUSE OF ACTION

                        (Trademark Dilution Pursuant to 15 U.S.C. § 1125(c))

           146.    Plaintiff, not Defendants, is the rightful owner of the TIO SIMON mark.




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           147.   Defendants’ trademark Application Serial No. 97/030,729 was filed with the intent

   to trade off on the reputation and goodwill of Tío Simón, his estate, and Plaintiff’s TIO SIMON

   mark.

           148.   Plaintiff’s TIO SIMON mark was famous well before Defendants first use of the

   Infringing Mark.

           149.   Defendants’ unauthorized use of the Infringing Mark will dilute the distinctive

   qualities of Plaintiff’s famous TIO SIMON mark within the meaning of Section 43(c) of the U.S.

   Trademark Act, 15 U.S.C. § 1125(c), and will lessen the ability of Plaintiff to distinguish

   Defendants’ goods from its own.

           150.   By reason of Defendants’ wrongful acts aforementioned, Plaintiff has suffered and

   will continue to suffer monetary damages, the full extent of which is as yet undetermined.

           151.   Defendants’ wrongful acts aforementioned are willful, wanton, and in utter

   disregard of Plaintiff’s rights. Plaintiff has no adequate remedy at law and is presently suffering

   and will continue to suffer irreparable harm and damage to its business reputation and goodwill if

   such infringing activities are allowed to continue.

                                  TWELFTH CAUSE OF ACTION

                      (Trademark Dilution Pursuant to Fla. Stat. Ann. § 495.151)

           152.   Plaintiff’s TIO SIMON mark is distinctive, and widely recognized by the general

   consuming public of the United States as a designation of source of Plaintiff’s goods and services.

           153.   Defendants’ unauthorized use of the Infringing Mark is likely to cause dilution of

   Plaintiff’s TIO SIMON mark.

           154.   By reason of Defendants’ wrongful acts aforementioned, Plaintiff has suffered and

   will continue to suffer monetary damages, the full extent of which is as yet undetermined.



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           155.    Defendants’ wrongful acts aforementioned are willful, wanton, and in utter

   disregard of Plaintiff’s rights.

           156.    Plaintiff has no adequate remedy at law and is presently suffering and will continue

   to suffer irreparable harm and damage to its business reputation and goodwill if such infringing

   activities are allowed to continue.

                                 THIRTEENTH CAUSE OF ACTION

                  (False Suggestion of a Connection Pursuant to 15 U.S.C. § 1052)

           157.    Upon information and belief, Defendants were and are well aware of Tío Simón,

   and intentionally use and sought registration of the Infringing Mark in an attempt to falsely suggest

   a connection to the public between Defendants and Tío Simón.

           158.    Defendants’ are using the Infringing Mark with the intent to pass off its goods and

   services as those of Plaintiff by misrepresenting that Tío Simón and his estate are the source of, or

   otherwise endorsing, the Defendants’ goods.

           159.    The Infringing Mark is identical to the name Tío Simón and Plaintiff’s TIO SIMON

   mark.

           160.    In light of Tío Simón’s fame in the United States and internationally, consumers in

   the United States and globally have come to recognize that the TIO SIMON mark points uniquely

   and unmistakably to Tío Simón and his estate

           161.    Defendants actively promote the Infringing Mark as being associated with Tío

   Simón and Plaintiff’s TIO SIMON mark.

           162.    The goods offered in connection with the Infringing Mark include traditional

   Venezuelan food and recipes which consumers instantly recognize as originating from Venezuelan

   culture, of which, Tío Simón stands as a cultural icon.



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          163.    Further, Defendants’ website, https://www.tiosimonfoods.com, contains the

   Infringing Mark and advertises goods sold under the Infringing Mark as being traditional

   Venezuelan foods.

          164.    Neither Defendants, nor Defendants’ goods offered under the Infringing Mark are

   authorized by Plaintiff, the rightful owner of the TIO SIMON mark and rights.

          165.    The fame and reputation of Tío Simón is such that when used with the goods of the

   Infringing Mark, a connection with Tío Simón and Plaintiffs would be presumed.

          166.    Moreover, Defendants also use a logo comprised of a drawing of a man riding a

   donkey and wearing a traditional Venezuelan hat which is confusingly similar with the well-known

   representation of Tío Simón within the Venezuelan community, as he is regularly portrayed

   wearing a traditional Venezuelan hat and riding on a donkey or horse.

          167.    Such marketing is intended to draw a false connection between the Infringing Mark

   and Tío Simón and misrepresent that Tío Simón and his estate are the source of, or otherwise

   endorsing, Defendants’ goods.

          168.    Defendants’ Application Serial No. 97/030,729 for the Infringing Mark was filed

   with the intent to trade off the reputation and goodwill of Tío Simón, his estate, and Plaintiff’s TIO

   SIMON mark.

          169.    It is unlikely that any consumer would engage in a thorough investigation to

   uncover the true source of Defendants’ products.

          170.    Thus, consumers are likely to mistakenly believe that the Infringing Mark is

   associated with, authorized by, or otherwise endorsed by Tío Simón and his estate.




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          171.    Defendants’ use and registration of the Infringing Mark will cause irreparable harm,

   injury and damage to Plaintiff in that it will result in confusion among consumers regarding the

   origin or sponsorship of Defendants’ goods, causing actual and reputational harm to Plaintiff.

          172.    Defendants’ use of the Infringing Mark, the logo depicting Tío Simón’s likeness,

   and the domain name www.tiosimonfoods.com to market its Venezuelan food products, falsely

   suggests a connection with Plaintiff in violation of Section 2(a) of the Lanham Act, 15 U.S.C. §

   1052(a).

          173.    Accordingly, registration of Application Serial No. 97/030,729 must be refused.

          174.    Plaintiff has no adequate remedy at law and is presently suffering and will continue

   to suffer irreparable harm and damage to its business reputation and goodwill if such activities are

   allowed to continue.

                                       PRAYER FOR RELIEF

          WHEREFORE, Plaintiff respectfully requests the following relief:

      A. A judgment and declaration that Defendants have infringed Plaintiff’s TIO SIMON mark;

          falsely suggested a connection under 15 U.S.C. § 1052; engaged in false association under

          15 U.S.C. § 1125(a); violated Florida’s Deceptive and Unfair Trade Practices Act under

          Fla. Stat. Ann. § 501.201; committed fraud; violated Plaintiff’s right of publicity under Fla.

          Stat. Ann. § 540.08 and Florida common law; engaged in unfair competition under 15

          U.S.C. § 1125(a) and Florida common law; are liable for trademark dilution under 15

          U.S.C. § 1125(c) and Fla. Stat. Ann. § 495.151; and are liable for Lanham Act false

          endorsement;

      B. A permanent injunction enjoining and restraining Defendants, their officers, agents,

          servants, employees, assigns, attorneys, and those in active concert or participation



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         therewith, from infringing, in any manner, Plaintiff’s TIO SIMON mark; from using the

         name, likeness, or persona of Tío Simón; from engaging in acts of unfair competition

         against Plaintiff; and from engaging in activity that is likely to cause dilution of Plaintiff’s

         TIO SIMON mark;

      C. An accounting to Plaintiff for all sales, receipts, assets, profits or other gains derived

         directly or indirectly from Defendants’ unlawful activity;

      D. The transfer to Plaintiff of the domain https://www.tiosimonfoods.com/, and any other

         similar domain owned by Defendants;

      E. An order refusing registration of Application Serial No. 97/030,729;

      F. An award of such damages as Plaintiff has sustained, is sustaining, or will sustain by reason

         of Defendants’ unlawful activity;

      G. An award of punitive and exemplary damages in an amount to be determined;

      H. An award of treble damages and an award of Defendants’ profits under 15 U.S.C. § 1117;

      I. An award of attorneys’ fees under 15 U.S.C. § 1117 and related nontaxable expenses;

      J. An award of pre- and post-judgment interest;

      K. Taxable costs under 28 U.S.C. § 1920; and

      L. Other and further relief as this Court deems just and proper.

                                   DEMAND FOR JURY TRIAL

         Plaintiff hereby demands a trial by jury on all claims and issues so triable.


    Dated: October 13, 2023
                                               By: /s/Matthew Ryan/
                                               Matthew Ryan
                                               Fla. Bar No. 368709
                                               HAUG PARTNERS LLP
                                               777 South Flagler Drive
                                               Suite 1000, East Tower


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                                     Attorneys for Plaintiff
                                     Sucesión Simon Diaz Marquez




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           Case 1:23-cv-23933-FAM DocumentCIVIL
JS 44 (Rev. 04/21) FLSD Revised 12/02/2022 4-1 Entered
                                                COVERon FLSD Docket 10/13/2023 Page 28 of 29
                                                       SHEET
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as provided
by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the purpose of initiating
the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.) NOTICE: Attorneys MUST Indicate All Re-filed Cases Below.
I. (a)     PLAINTIFFS                                                                                        DEFENDANTS
                               Sucesión Simon Diaz Marquez                                                                            Miami Fine Foods, LLC and Avi Assor

   (b) County of Residence of First Listed Plaintiff Miranda, Venezuela                                       County of Residence of First Listed Defendant Miami-Dade County
                               (EXCEPT IN U.S. PLAINTIFF CASES)                                                                            (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                              NOTE:                    IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                                       THE TRACT OF LAND INVOLVED.
   (c) Attorneys (Firm Name, Address, and Telephone Number)                                                   Attorneys (If Known)

         HAUG PARTNERS LLP, 777 South Flagler Drive, Phillips Point East Tower,
         Suite 1000, West Palm Beach, FL 33401, (212) 588-0800

(d) Check County Where Action Arose:             MIAMI- DADE         MONROE         BROWARD         PALM BEACH      MARTIN     ST. LUCIE    INDIAN RIVER    OKEECHOBEE        HIGHLANDS

II. BASIS OF JURISDICTION                        (Place an “X” in One Box Only)               III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff)
                                                                                                         (For Diversity Cases Only)                                       and One Box for Defendant)
‫ ܆‬1      U.S. Government             ‫܆‬3      Federal Question                                                                     PTF        DEF                                          PTF DEF
           Plaintiff                          (U.S. Government Not a Party)                   ‫܆‬     Citizen of This State          ‫ ܆‬1       ‫ ܆‬1     Incorporated or Principal Place      ‫ ܆‬4   ‫܆‬4
                                                                                                                                                     of Business In This State

‫ ܆‬2      U.S. Government             ‫܆‬4        Diversity                                      ‫܆‬     Citizen of Another State       ‫ ܆‬2       ‫ ܆‬2     Incorporated and Principal Place     ‫ ܆‬5   ‫ ܆‬5
           Defendant                          (Indicate Citizenship of Parties in Item III)                                                             of Business In Another State

                                                                                                    Citizen or Subject of a
                                                                                                    Foreign Country                ‫ ܆‬3       ‫ ܆‬3     Foreign Nation                       ‫ ܆‬6   ‫ ܆‬6
IV. NATURE OF SUIT (Place an “X” in One Box Only)                                                             Click here for: Nature of Suit Code Descriptions
           CONTRACT                                           TORTS                                    FORFEITURE/PENALTY                   BANKRUPTCY                          OTHER STATUTES
‫ ܆‬110 Insurance                      PERSONAL INJURY                 PERSONAL INJURY                ‫ ܆‬625 Drug Related Seizure         ‫ ܆‬422 Appeal 28 USC 158           ‫ ܆‬375 False Claims Act
‫ ܆‬120 Marine                       ‫ ܆‬310 Airplane                  ‫ ܆‬365 Personal Injury -                of Property 21 USC 881       ‫ ܆‬423 Withdrawal                  ‫ ܆‬376 Qui Tam (31 USC 3729(a))
‫ ܆‬130 Miller Act                   ‫ ܆‬315 Airplane Product                Product Liability          ‫ ܆‬690 Other                              28 USC 157                    400 State Reapportionment
‫ ܆‬140 Negotiable Instrument              Liability                 ‫ ܆‬367 Health Care/                                                                                    ‫ ܆‬410 Antitrust
‫ ܆‬150 Recovery of Overpayment   ‫ ܆‬320 Assault, Libel &                      Pharmaceutical                                       INTELLECTUAL PROPERTY ‫ ܆‬430 Banks and Banking
                                                                                                                                            RIGHTS
      & Enforcement of Judgment       Slander                           Personal Injury                                          ‫ ܆‬820 Copyrights                  ‫ ܆‬450 Commerce
‫ ܆‬151 Medicare Act              ‫ ܆‬330 Federal Employers’                Product Liability                                        ‫ ܆‬830 Patent                      ‫ ܆‬460 Deportation
‫ ܆‬152   Recovery of Defaulted
  Student Loans                       Liability                                                                                  ‫ ܆‬835New
                                                                                                                                        Patent – Abbreviated
                                                                                                                                            Drug Application       ‫ ܆‬470   Racketeer Influenced
                                                                                                                                                                       and Corrupt Organizations
                                                                    368 Asbestos Personal
                                                                 ‫ ܆‬Injury Product Liability                                      ‫ ܆‬840 Trademark
  (Excl. Veterans)                 ‫ ܆‬340 Marine                                                                                                                    ‫ ܆‬480(15Consumer Credit
                                                                                                                                 ‫ ܆‬880  Defend Trade Secrets
                                                                                                                                      Act of 2016
                                                                                                                                                                              USC 1681 or 1692)
‫ ܆‬153 Recovery of Overpayment      ‫ ܆‬345 Marine Product                                                    LABOR                     SOCIAL SECURITY                   485 Telephone   Consumer
                                                                                                                                                                   ‫ ܆‬Protection Act (TCPA)
  of Veteran’s Benefits                     Liability              PERSONAL PROPERTY ‫ ܆‬710 Fair Labor Standards Acts ‫ ܆‬861 HIA (1395ff)                            ‫ ܆‬490 Cable/Sat TV
‫ ܆‬160 Stockholders’ Suits          ‫ ܆‬350 Motor Vehicle           ‫ ܆‬370 Other Fraud              ‫ ܆‬720 Labor/Mgmt. Relations      ‫ ܆‬862 Black Lung (923)            ‫ ܆‬850 Securities/Commodities/
‫ ܆‬190 Other Contract               ‫ ܆‬355 Motor Vehicle           ‫ ܆‬371 Truth in Lending         ‫ ܆‬740 Railway Labor Act          ‫ ܆‬863 DIWC/DIWW (405(g))              Exchange
‫ ܆‬195 Contract Product Liability           Product Liability     ‫ ܆‬380 Other Personal           ‫ ܆‬751 Family and Medical         ‫ ܆‬864 SSID Title XVI              ‫ ܆‬890 Other Statutory Actions
‫ ܆‬196 Franchise                    ‫ ܆‬360 Other Personal             Property Damage                    Leave Act                 ‫ ܆‬865 RSI (405(g))                ‫ ܆‬891 Agricultural Acts
                                           Injury                ‫ ܆‬385 Property Damage          ‫ ܆‬790 Other Labor Litigation                                       ‫ ܆‬893 Environmental Matters
                                   ‫ ܆‬362 Personal Injury -          Product Liability           ‫ ܆‬791 Employee Retirement                                          ‫ ܆‬895 Freedom of Information Act
                                           Med. Malpractice                                          Income Security Act                                           ‫ ܆‬896 Arbitration
       REAL PROPERTY                      CIVIL RIGHTS            PRISONER PETITIONS                                                FEDERAL TAX SUITS              ‫ ܆‬899 Administrative Procedure
‫ ܆‬210 Land Condemnation            ‫ ܆‬440 Other Civil Rights         Habeas Corpus:                                               ‫ ܆‬870   Taxes (U.S. Plaintiff or
                                                                                                                                    Defendant)
                                                                                                                                                                       Act/Review or Appeal of
                                                                                                                                                                       Agency Decision
‫ ܆‬220 Foreclosure                  ‫ ܆‬441 Voting                 ‫ ܆‬463 Alien Detainee                                                871
                                                                                                                                 ‫ ܆‬7609 IRS—Third    Party 26 USC  ‫ ܆‬950   Constitutionality of
                                                                                                                                                                       State Statutes
‫ ܆‬230 Rent Lease & Ejectment       ‫ ܆‬442 Employment              ‫ ܆‬510   Motions to Vacate
                                                                    Sentence
‫ ܆‬240 Torts to Land                    443 Housing/
                                   ‫ ܆‬Accommodations              ‫ ܆‬530 General
‫ ܆‬245 Tort Product Liability       ‫ ܆‬445 Amer. w/Disabilities - ‫ ܆‬535 Death Penalty                    IMMIGRATION
‫ ܆‬290 All Other Real Property              Employment               Other:                      ‫ ܆‬462 Naturalization Application
                                   ‫ ܆‬446 Amer. w/Disabilities - ‫ ܆‬540 Mandamus & Other ‫ ܆‬465 Other Immigration
                                           Other                 ‫ ܆‬550 Civil Rights                   Actions
                                   ‫ ܆‬448 Education               ‫ ܆‬555 Prison Condition
                                                                    560 Civil Detainee –
                                                                 ‫ ܆‬Conditions of
                                                                    Confinement
V. ORIGIN                  (Place an “X” in One Box Only)
                                                                                                           ‫ ܆‬6 Multidistrict
                                                                                      Transferred from
‫ ܆‬1 Original         ‫ ܆‬2 Removed ‫ ܆‬3 Re-filed ‫ ܆‬4 Reinstated ‫ ܆‬5 another district                               Litigation        ‫ ܆‬7 Appeal to            ‫ ܆‬8 Multidistrict          Remanded from
       Proceeding           from State          (See VI         or
                            Court               below)          Reopened              (specify)                 Transfer                 District Judge          Litigation ‫ ܆‬9 Appellate Court
                                                                                                                                         from Magistrate         – Direct
                                                                                                                                         Judgment                File
VI. RELATED/                            (See instructions): a) Re-filed Case      ‫܆‬YES ‫ ܆‬NO                   b) Related Cases ‫܆‬YES ‫ ܆‬NO
RE-FILED CASE(S)                                           JUDGE:                                                                    DOCKET NUMBER:
                                       Cite the U.S. Civil Statute under which you are filing and Write a Brief Statement of Cause (Do not cite jurisdictional statutes unless diversity):
VII. CAUSE OF ACTION 43(a)(1)(A)-Lanham Act Trademark Infringement, 15 U.S.C. §1125-Dilution, False Association, Unfair Competition
                                        LENGTH OF TRIAL via                    days estimated (for both sides to try entire case)
VIII. REQUESTED IN                           CHECK IF THIS IS A CLASS ACTION
                                                                                                       DEMAND $                                    CHECK YES only if demanded in complaint:
     COMPLAINT:                              UNDER F.R.C.P. 23
                                                                                                       Permanent Injunction                    JURY DEMAND:                 ‫ ܆‬Yes       ‫ ܆‬No
ABOVE INFORMATION IS TRUE & CORRECT TO THE BEST OF MY KNOWLEDGE
DATE                                                                         SIGNATURE OF ATTORNEY OF RECORD

 10/13/2023                                                                       /s/Matthew Ryan/
FOR OFFICE USE ONLY : RECEIPT #                            AMOUNT                             IFP                 JUDGE                              MAG JUDGE
       Case 1:23-cv-23933-FAM Document 4-1 Entered on FLSD Docket 10/13/2023 Page 29 of 29
JS 44 (Rev. 04/21) FLSD Revised 12/02/2022


                    INSTRUCTIONS FOR ATTORNEYS COMPLETING CIVIL COVER SHEET FORM JS 44

                                                                Authority For Civil Cover Sheet
  The JS 44 civil cover sheet and the information contained herein neither replaces nor supplements the filings and service of pleading or other papers as required
by law, except as provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the
use of the Clerk of Court for the purpose of initiating the civil docket sheet. Consequently, a civil cover sheet is submitted to the Clerk of Court for each civil
complaint filed. The attorney filing a case should complete the form as follows:
I.      (a) Plaintiffs-Defendants. Enter names (last, first, middle initial) of plaintiff and defendant. If the plaintiff or defendant is a government agency, use
only the full name or standard abbreviations. If the plaintiff or defendant is an official within a government agency, identify first the agency and then the official,
giving both name and title.
        (b) County of Residence. For each civil case filed, except U.S. plaintiff cases, enter the name of the county where the first listed plaintiff resides at the
time of filing. In U.S. plaintiff cases, enter the name of the county in which the first listed defendant resides at the time of filing. (NOTE: In land condemnation
cases, the county of residence of the “defendant” is the location of the tract of land involved.)
         (c) Attorneys. Enter the firm name, address, telephone number, and attorney of record. If there are several attorneys, list them on an attachment, noting
in this section “(see attachment)”.
 II.    Jurisdiction. The basis of jurisdiction is set forth under Rule 8(a), F.R.C.P., which requires that jurisdictions be shown in pleadings. Place an “X” in
one of the boxes. If there is more than one basis of jurisdiction, precedence is given in the order shown below.
United States plaintiff. (1) Jurisdiction based on 28 U.S.C. 1345 and 1348. Suits by agencies and officers of the United States are included here.
United States defendant. (2) When the plaintiff is suing the United States, its officers or agencies, place an “X” in this box.
Federal question. (3) This refers to suits under 28 U.S.C. 1331, where jurisdiction arises under the Constitution of the United States, an amendment to the
Constitution, an act of Congress or a treaty of the United States. In cases where the U.S. is a party, the U.S. plaintiff or defendant code takes precedence, and
box 1 or 2 should be marked. Diversity of citizenship. (4) This refers to suits under 28 U.S.C. 1332, where parties are citizens of different states. When Box 4
is checked, the citizenship of the different parties must be checked. (See Section III below; federal question actions take precedence over diversity cases.)
III.    Residence (citizenship) of Principal Parties. This section of the JS 44 is to be completed if diversity of citizenship was indicated above. Mark this
section for each principal party.
IV.     Nature of Suit. Nature of Suit. Place an "X" in the appropriate box. If there are multiple nature of suit codes associated with the case, pick the nature of
suit code that is most applicable. Click here for: Nature of Suit Code Descriptions.
V.      Origin. Place an “X” in one of the seven boxes.
Original Proceedings. (1) Cases which originate in the United States district courts.
Removed from State Court. (2) Proceedings initiated in state courts may be removed to the district courts under Title 28 U.S.C., Section 1441. When the petition
for removal is granted, check this box.
Refiled (3) Attach copy of Order for Dismissal of Previous case. Also complete VI.
Reinstated or Reopened. (4) Check this box for cases reinstated or reopened in the district court. Use the reopening date as the filing date.
Transferred from Another District. (5) For cases transferred under Title 28 U.S.C. Section 1404(a). Do not use this for within district transfers or multidistrict
litigation transfers.
Multidistrict Litigation. (6) Check this box when a multidistrict case is transferred into the district under authority of Title 28 U.S.C. Section 1407. When this
box is checked, do not check (5) above.
Appeal to District Judge from Magistrate Judgment. (7) Check this box for an appeal from a magistrate judge’s decision.
Remanded from Appellate Court. (8) Check this box if remanded from Appellate Court.
VI.    Related/Refiled Cases. This section of the JS 44 is used to reference related pending cases or re-filed cases. Insert the docket numbers and the
corresponding judges name for such cases.

VII. Cause of Action. Report the civil statute directly related to the cause of action and give a brief description of the cause. Do not cite jurisdictional
statutes unless diversity. Example: U.S. Civil Statute: 47 USC 553
                           Brief Description: Unauthorized reception of cable service
VIII. Requested in Complaint. Class Action. Place an “X” in this box if you are filing a class action under Rule 23, F.R.Cv.P.
Demand. In this space enter the dollar amount (in thousands of dollars) being demanded or indicate other demand such as a preliminary injunction.
Jury Demand. Check the appropriate box to indicate whether or not a jury is being demanded.

Date and Attorney Signature. Date and sign the civil cover sheet.
